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              How to share a link to a Dropbox file or
              folder

               You can create a link to a file or folder In your Dropbox account to
              share it with others. When you share a file or folder via link, you can
              choose to give people with that link edit or view-only access.

              Learn how to manage vour default sharing settings.

               Notes:



              • Customers on Dropbox Professional, Standard, Advanced, and
                   Enterprise can set additional shared link permissions like
                   passwords and expiration dates.

              • You can't create a shared link to a restricted folder.


               Not using Dropbox yet? See how Dropbox helps you easily share folders.



               How to create and share a Dropbox link
               with edit access

               If you're on a Dropbox Basle, Professional, or Plus account, you can
               give other Dropbox users edit access to your Dropbox files or folders
               via link. If you share with someone without a Dropbox account, they'l
            services. Visit our Privacy Policy and Privacy Policy FAQs to
            learn more. You can manage your personal preferences,                        Decline           Accept All
            including your'Do not sell or share my personal data to third
            parties' setting in our Cookie Consent Tooi.




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                 On dropbox.com


                 1. Sign in to dropbox.com.
              2. Hover over the file or folder you'd like to share and click the share
                   icon (rectangle with an up arrow).
              3. From the dropdown, select can edit.


                    o If a link hasn't been created, click Create,

                    o If a link has been created, then click Copy link.

              4. The link is copied to your clipboard. You can then paste it into an
                 email, message, or wherever people can access it.

                 Note: If the link recipient is a member of a Dropbox business team,
                 their ability to edit content depends on their team's permissions.



                 How to create and share a Dropbox link
                 with view-only access
                 If someone receives a shared link or shared file with view-only
                 permissions, they won't be able to edit the original file.

                 On dropbox.com


                 1. Sign in to dropbox.com.
              2. Hover over the file or folder you'd like to share and click the share
                   icon (rectangle with an up arrow).
              3. From the dropdown, select can view.




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               On your computer


               1. Open the Dropbox folder in File Explorer (Windows) or Finder (Mac).
              2. Right-click or command-click the file or folder you'd like to share.
              3. Click Share....

              4. Select Can view.


                   Note: If sharing a folder, select from the dropdown menu.

                    o if a link hasn't been created, click Create link,

                    o If a link has been created, click Copy link

              5. The link is copied to your clipboard. You can then paste it into an
                 email, message, or wherever people can access it.



               Manage links with edit or view^only
               access


               You can make changes to a file or folder link after sharing it.

               Learn how to manage Dropbox sharing permissions.

               There are some exceptions:


               o If you remove someone's access and they still have a file or folder
                   link, they could regain access. To prevent them from regaining
                   access, delete the link.




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                   their Dropbox account, the link permissions you set will no longer

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                   Learn about adding shared folders.
               ® If you invite someone to a file or folder with access, they can create
                 their own link to share with someone else. You can't manage those
                 shared links, so be sure to only share with people you trust.



               Customize links and settings
               Dropbox Professional, Standard, Advanced, and Enterprise customers
               can change link settings and customize shared links with professional
               branding.




                                                  How helpful was this article?




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              Community answers

              Creating a file that clients may upload video privately without others
              clients being able to see it.



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               Related articles




               Can everyone on my team access my files?
               Find answers to FAQs about being a member of a Dropbox team, account, including whether
               admins and other team members can



               Change the owner of a shared folder
               By default, you're the owner of any shared folders you create. However, you can transfer
               ownership to someone else by ch



               Customize shared links

               With branded.sharing, you can customize brand elements to help establish your professional
               brand with clients. Learn mor




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                       Contact support




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               English (United States)



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